Case 1:18-cv-00950-PTG-JFA Document 772 Filed 02/17/22 Page 1 of 2 PageID# 34345




                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.                                                         Case No. 1:18-cv-00950-LO-JFA

COX COMMUNICATIONS, INC., et al.,

         Defendants.



                      DECLARATION OF JEFFREY M. GOULD
             IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO COX’S MOTION
         FOR RELIEF FROM THE JUDGMENT UNDER RULES 60(B)(2) AND 60(B)(3)
              AND REQUEST FOR INDICATIVE RULING UNDER RULE 62.1

            I, Jeffrey M. Gould, hereby declare pursuant to 28 U.S.C. § 1746 that the following

     statements are true and correct to the best of my personal knowledge and belief:

            1.         I am a partner at Oppenheim + Zebrak, LLP, and I am admitted to practice law in

     the District of Columbia, among other jurisdictions. I am counsel for Plaintiffs in the above-

     captioned case.

            2.         I submit this declaration in support of Plaintiffs’ Opposition to Cox’s Motion for

     Relief from the Judgment Under Rules 60(b)(2) and 60(b)(3) and Request for Indicative Ruling

     Under Rule 62.1.
Case 1:18-cv-00950-PTG-JFA Document 772 Filed 02/17/22 Page 2 of 2 PageID# 34346




         3.       Attached are true and correct copies of the following exhibits:

    Plaintiffs’                                         Description
     Exhibit

         1            A Notice of Intent to Serve Subpoena Duces Tecum dated December 20, 2019,
                      served electronically by Charter in the case styled Warner Records Inc. v.
                      Charter Communications, Inc., No. 19-cv-00874-RBJ-MEH (D. Colo); the
                      attached Subpoena Duces Tecum addressed to MarkMonitor; and Attachment
                      A (without exhibits)

         2            The April 19, 2019 expert report of Dr. George McCabe (filed under seal)

         3            An excerpt of the May 29, 2019 deposition of Dr. Nicholas Feamster (filed
                      under seal)

         4            An excerpt of the trial transcript in this case, filed at ECF Nos. 627–630, 637–
                      642, 649–650, 653–660, 672–675

         5            An excerpt of Plaintiffs’ December 19, 2018 Objections and Responses to
                      Defendants Cox, Inc. and CoxCom, LLC’s First Set of Requests for
                      Production

         6            ECF Nos. 258, 260, and 279, filed in MMAR Grp., Inc. v. Dow Jones & Co.,
                      No. 4:95-cv-1262 (S.D. Tex.)


         I declare under penalty of perjury under the laws of the United States that the foregoing is

  true and correct.

  Executed in Silver Spring, MD, this 16th day of February, 2022.



                                                          Jeffrey M. Gould

                                                          Jeffrey M. Gould
